   

Case 2:17-cr-20188-VAR-MKM ECF No. 21, PagelD.99 Filed 03/30/17 Page 1 of 13

UNITED STATES DISTRICT COURT \ >
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

THE UNITED STATES OF AMERICA, Case:2:17-cr-20188
Judge: Roberts, Victoria A.

MJ: Majzoub, Mona K.
Plaintiff, Filed: 03-30-2017 At 04:14 PM

IND USA V PRICOP, ET AL (BG)

 

VS.
VIOLATIONS:
D-1 VIOREL PRICOP 18 U.S.C. § 2314
D-2 MIHAELA PRICOP 31 U.S.C. § 5324(a)
18 U.S.C. § 1957
Defendants. 26 U.S.C. § 7206(2)
26 U.S.C. § 7203
/
INDICTMENT
THE GRAND JURY CHARGES:

COUNTS ONE THROUGH THREE
(18 U.S.C. § 2314 -- Interstate Transportation of Stolen Property)

D-t VIOREL PRICOP

On or about the dates set forth below, in the Eastern District of Michigan,
the defendant, VIOREL PRICOP did unlawfully transport, transmit, and transfer in
interstate commerce, to the state of Michigan, the stolen goods, wares and
merchandise identified below, valued at $5,000 or more, knowing the same to have
been stolen, converted, or taken by fraud, in violation of Title 18, United States

Code, Section 2314.
    

ase 2:17-cr-20188-VAR-MKM ECF No. 21, PagelD.100 Filed 03/30/17 Page 2 of 13

 

 

 

 

 

 

 

 

 

 

Count Date Item In transit | Greater
from than
$5,000

1 August | Samsung televisions, Model | Texas to Yes
2013 LH7SMECPLGA/ZA Tilinois

2 February ; LG 300 W NB3530A Stylish | California to Yes
2015 & Slim Sound Bars Ohio

3 February ‘ Bose stereo equipment New Mexico Yes
2015

 

COUNTS FOUR THROUGH SEVEN
(31 U.S.C, § 5324(a)(1) — Structuring)

D-2 MIHAELA PRICOP

On or about the dates set forth below, in the Eastern District of Michigan,
the defendant, MIHAELA PRICOP, as named below in each Count 4 through 7,
knowingly and for the purpose of evading the reporting requirements of Title 31,
United States Code, Section 5313(a), and the regulations promulgated thereunder,
did conduct the following transactions in a manner to cause or attempt to cause the
following domestic financial institutions, J.P. Morgan Chase Bank and Comerica
Bank, to fail to file a report required under section 5313(a) of Title 31 of the
United States Code, and any regulation prescribed under such section, and did so
while violating another law of the United States or as part of a pattern of any

illegal activity involving more than $100,000 in a 12-month period.
  

 

Case 2:17-cr-20188-VAR-MKM ECF No. 21

, PagelD.101 Filed 03/30/17 Page 3 of 13

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Count | Defendants Date Description
4 MIHAELA PRICOP | 12/27/12 | Deposit of $5,000 in J.P. Morgan
Chase Account 2119
12/27/12 | Deposit of $5,000 in J.P. Morgan
Chase Account 2127
12/27/12 | Deposit of $5,000 in J.P. Morgan
Chase Account 2135
5 MIHAELA PRICOP | 8/20/13 | Deposit of $9,000 in Comerica
Account 5231
8/20/13 | Deposit of $9,000 in Comerica
Account 5822
8/20/13 | Deposit of $9,000 in Comerica
Account 428]
6 MIHAELA PRICOP | 8/30/13 | Deposit of $5,000 in Comerica
Account 5231
8/30/13 | Deposit of $9,000 in Comerica
Account 5231
8/30/13 | Deposit of $9,000 in Comerica
Account 5822
8/30/13 | Deposit of $9,000 in Comerica
Account 4281
7 MIHAELA PRICOP | 9/29/14 | Deposit of $9,900 into Comerica
Account 3822
9/29/14 | Deposit of $9,800 into Comerica
Account 5822

 

 

All in violation of Title 31, United States Code, Sections 5324{a)(1) and

5324(d) and Title 31, Code of Federal Regulations, Chapter X, Part 1010.

 
   

Case 2:17-cr-20188-VAR-MKM ECF No. 21, PagelD.102 Filed 03/30/17 Page 4 of 13

COUNT EIGHT
(31 U.S.C. § 5324(a)(3) — Structuring)

D-2 MIHAELA PRICOP

From on or about April 2012 and continuing to on or about December 2014,
in the Eastern District of Michigan and elsewhere, the defendant, MIHAELA
PRICOP, knowingly and for the purpose of evading the reporting requirements of
Title 31, United States Code, Sections 5313(a), and the regulations promulgated
thereunder, did structure, assist in structuring, or attempt to structure, or assist in
structuring, the following transactions with one or more of the following domestic
financial institutions, and did so while violating another law of the United States or
as part of a pattern of any illegal activity involving more than $100,000 in a 12-

month period:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Bank Name Account | Deposit Item | Amount | Description
Ending Date
Comerica 5822 4/10/12 $5,000 Deposit
Comerica 4281 4/10/12 $5,000 Deposit
Comerica 5822 4/15/13 $8,400 Deposit
Comerica 5822 4/23/13 $7,800 Deposit
Comerica $23] 4/30/13 $4,500 Deposit
Comerica 5822 4/30/13 $1,000 Deposit
Comerica 5822 5/1/13 $4,000 Deposit
Comerica 428] 5/1/13 $1,500 Deposit
Comerica 5231 6/10/13 $4,900 Deposit
Comerica 5231 6/11/13 $2,500 Deposit
Comerica 5822 6/11/13 $4,900 Deposit
Comerica 5822 6/13/13 $4,900 Deposit
Comerica 5822 9/26/13 $9,000 Deposit
Comerica 4281 9/30/13 $8,000 Deposit
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Case 2:17-cr-20188-VAR-MKM ECF No. 21, PagelD.103 Filed 03/30/17 Page 5 of 13

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Bank Name Account | Deposit Item | Amount Description
Ending Date
Comerica 5822 4/28/14 $5,000 Deposit
Comerica 5822 4/30/14 $9,500 Deposit
Comerica 5822 WTA $7,000 Deposit
Bank of America | 4928 WIAA $6,800 Deposit
Bank of America | 4928 12/3/14 $9,500 Deposit
Bank of America | 4928 12/5/14 $9,500 Deposit
Bank of America | 4928 12/8/14 $9,000 Deposit
Bank of America | 4928 12/15/14 $7,500 Deposit

 

All in violation of Title 31, United States Code, Sections 5324(a)(3) and

5324(d), and Title 31, Code of Federal Regulations, Chapter X, Part 1010.

COUNTS NINE THROUGH TWENTY
(18 U.S.C. § 1957 — Monetary Transactions in Property Derived from Specified
Unlawful Activity)
D-1 VIOREL PRICOP
D-2 MIHAELA PRICOP
On or about the dates set forth below, in the Eastern District of Michigan

and elsewhere, defendants VIOREL PRICOP and MIHAELA PRICOP, as named
below in each Count 9 through 20, did knowingly engage and attempt to engage in
the following monetary transactions, by, through, or to a financial! institution,
affecting interstate or foreign commerce, in criminally derived property of a value

greater than $10,000, that is the deposit, withdrawal, transfer or exchange of U.S.

currency, and monetary instruments, such property having been derived from a

 

 
   

 

Case 2:17-cr-20188-VAR-MKM ECF No. 21, PagelD.104 Filed 03/30/17 Page 6 of 13

specified unlawful activity, that is, Interstate Transportation of Stolen Property in

violation of Title 18, United States Code, Section 2314. Each of the financial

transactions listed in the table below constitutes a separate count of this

 

 

 

 

 

 

 

Indictment:
Count | Defendant | Date Amount | Monetary | Payee/Description
Source
9 MIHAELA | 4/13/12 | $113,153 | USS. Cauley Ferrari for the
PRICOP Currency | purchase of a Ferrari
10 MIHAELA | 8/20/12 | $23,000 U.S. Deposited U.S.
PRICOP Currency | Currency into
business account at
Comerica Bank.
$22,687.99 | Cashier’s | Purchased Cashier’s
Check Check to Oakland
County for purchase
of vacant property
adjoining the
PRICOP residence
11 MIHAELA | 12/18/12 | $21,027 US. Detroit Country Day
PRICOP Currency | School for children’s
tuition
12 VIOREL 5/28/13 | $20,989.21 | U.S. Oklahoma Kenworth
PRICOP Currency | for repair services on
a tractor trailer
13 MIHAELA | 6/3/13 $22,315 US. Williams & Williams
PRICOP Currency | Worldwide Realty for
purchase of real
property.
14 MIHAELA | 7/25/13 | $15,743 USS. MLC Motorcars for
PRICOP Currency | the purchase ofa
Sport Utility Vehicle

 

 

 

 

 

 

 

 

 
  

Case 2:17-cr-20188-VAR-MKM ECF No. 21, PagelD.105 Filed 03/30/17 Page 7 of 13

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Count | Defendant | Date Amount Monetary | Payee/Description
Source
15 VIOREL | 8/26/13 | $200,000 | U.S. Deposited into
PRICOP Currency | personal bank account
at Comerica Bank
MIHAELA
PRICOP $197,000 | Cashier’s | Purchased Cashier’s
Check Check payable to
Oakland County for
purchase of 1242
Huntcliff, Milford,
MI
16 MIHAELA | 2/11/14 | $28,986 US. Mercedes Benz of
PRICOP Currency | West Bloomfield for
the purchase of a
vehicle
17 MIHAELA | 3/18/14 | $15,000 U.S. Mercedes Benz of
PRICOP Currency | West Bloomfield for
the purchase of a
vehicle
18 MIHAELA | 3/26/14 | $70,000 US. Mercedes Benz of
PRICOP Currency j| West Bloomfield for
the purchase of a
vehicle
19 MIHAELA | 9/5/14 =| $35,941 US. Detroit Country Day
PRICOP Currency | School for children’s
tuition
20 MIHAELA | 2/6/15 $14,000 US. Detroit Country Day
PRICOP Currency | School for children’s
tuition

 

All in violation of Title 18, United States Code, Section 1957.

 

 

 
   

Case 2:17-cr-20188-VAR-MKM ECF No. 21, PagelD.106 Filed 03/30/17 Page 8 of 13

COUNTS TWENTY-ONE THROUGH FWENTY-FOUR
(26 U.S.C. § 7206(2) — Aiding and Assisting in Preparation of a False Return)

D-1 VIOREL PRICOP
D-2 MIHAELA PRICOP

On or about the dates hereinafter set forth, in the Eastern District of
Michigan, the defendants VIOREL PRICOP and MIHAELA PRICOP, residents of
Milford, Michigan, did willfully aid and assist in, or caused the preparation or
presentation to the Internal Revenue Service, of U.S. Individual Income Tax
Returns, Forms 1040, for VIOREL and MIHAELA PRICOP, jointly, in each of the
calendar years hereinafter specified. The returns were false and fraudulent as to
material matters in that they under-reported the defendants’ total income, when, as
defendants knew, defendants’ total income for the years hereinafter specified was

significantly more than reported and the tax due in each year was higher, than the

 

 

 

 

 

 

tax paid.
Count | Date of Taxpayer Calendar | Falsely | Amount
| Offense Tax Year | Claimed | Claimed
Item
21 April 2011 | VIOREL PRICOP 2010 Total $59,289
MIHAELA PRICOP income
: 22 April 2012 | VIOREL PRICOP 2011 Total $61,649
MIHAELA PRICOP income
23 April 2013 | VIOREL PRICOP 2012 Total $57,308
MIHAELA PRICOP income
24 April 2014 | VIOREL PRICOP 2013 Total $51,187
MIHAELA PRICOP income

 

 

 

 

 

 

 

All in violation of Title 26, United States Code, Section 7206(2).

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Case 2:17-cr-20188-VAR-MKM ECF No. 21, PagelD.107 Filed 03/30/17 Page 9 of 13

COUNT TWENTY-FIVE
(26 U.S.C. § 7203 — Failure to File a Return)

D-1 VIOREL PRICOP
D-2 MIHAELA PRICOP

During the calendar year 2014, defendants VIOREL PRICOP and
MIHAELA PRICOP, who were residents of Milford, Michigan, had and received
gross income totaling approximately $693,298. By reason of that gross income,
defendants VIOREL PRICOP and MIHAELA PRICOP were required by law,
following the close of the calendar year 2014 and on or before April 15, 2015,
absent an extension, to make a 2014 income tax return filed with the Internal
Revenue Service, stating specifically the items of their gross income and any
deductions and credits to which they are entitled. Well knowing and believing all
the foregoing, defendants VIOREL PRICOP and MIHAELA PRICOP did willfully
fail, on or about April 15, 2015, in the Eastern District of Michigan and elsewhere,
to make an income tax return; all in violation of Title 26, United States Code,

Section 7203.

FORFEITURE ALLEGATIONS
(18 U.S.C. § 981(a\(1\(C), 18 U.S.C. § 982(a)(1),
31 U.S.C. § 5317, 28 U.S.C. § 2461(c) - Criminal Forfeiture)

The allegations contained in Counts One through Twenty of this Indictment

are hereby realleged and incorporated by reference for the purpose of alleging

 
   

 

Case 2:17-cr-20188-VAR-MKM ECF No. 21, PagelD.108 Filed 03/30/17 Page 10 of 13

forfeitures pursuant to Title 18, United States Code, Sections 981(a)(1)(C) together
with Title 28, United States Code, Section 2461(c), Title 18, United States Code,
Sections 982(a)(1) and Title 31, United States Code, Section 5317.

Pursuant to Title 18, United States Code, Section 981(a}(1)(C) together with
Title 28, United States Code, Section 2461(c), upon conviction of an offense in
violation of Title 18, United States Code, Section 2314, the defendant, VIOREL
PRICOP, shall forfeit to the United States of America any property constituting, or
derived from, any proceeds obtained, directly or indirectly, as a result of such
violations.

Pursuant to Title 31, United States Code, Section 5317(c)(1), upon
conviction of an offense in violation of Title 31, United States Code, Section 5324,
the defendant, MIHAELA PRICOP, shall forfeit to the United States of America
any and all property, real or personal, involved in the offenses, and any property
traceable to such property.

Pursuant to Title 18, United States Code, Section 982(a)(1), upon conviction
of an offense in violation of Title 18, United States Code, Section 1957, the
defendants, VIOREL PRICOP and MIHAELA PRICOP, shall forfeit to the United
States of America any property constituting, or derived from, any proceeds
obtained, directly or indirectly, as a result of such violations and/or any and all

property, real or personal, involved in the offenses, and any property traceable to

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Case 2:17-cr-20188-VAR-MKM ECF No. 21, PagelD.109 Filed 03/30/17 Page 11 of 13

such property.

Money Judgment. Property to be forfeited includes, but is not limited to, a
money judgment, and all traceable interest and proceeds for which the defendants
are jointly and severally liable. Such sum in aggregate is property representing the
proceeds of violations of Title 18, United States Code, Sections 2314 and/or 1957,
or property that is traceable to such property, and/or property involved in violations
of Title 18, United States Code, Section 1957 and/or Title 31, United States Code,
Sections 5324(a)(1) and/or (a)(3).

Substitute Assets. Pursuant to Title 21, United States Code, Section 853(p),
as incorporated by Title 18, United States Code, Section 982(b), and/or Title 31,
United States Code, Section 5317(c), defendants shall forfeit substitute property,
up to the value of the property described above, if, as a result of any act or
omission of any defendant, the property described above cannot be located upon
the exercise of due diligence; has been transferred or sold to, or deposited with, a

third party; has been placed beyond the jurisdiction of the court; has been

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Case 2:17-cr-20188-VAR-MKM ECF No. 21, PagelD.110 Filed 03/30/17 Page 12 of 13

substantially diminished in value; or has been commingled with other property
which cannot be divided without difficulty.
THIS IS A TRUE BILL.

S/GRAND JURY FOREPERSON
GRAND JURY FOREPERSON

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|

Dated: March 30, 2017

12
Case 2:17-cr-20188-VAR-MKM ECF No. 21, PagelD.111 Filed 03/30/17 Page 13 of 13

Case:2:17-cr-20188
Judge: Roberts, Victoria A.

 

 

 

 

 

 

 

United States District Court Criminal Case ™: Majzoub, Mona k.
Eastern District of Michigan Filed: 03-30-2017 At 04:14 PM
IND USA V PRICOP. ETAL (BG) —
NOTE: It is the responsiblllty of the Assistant U.S. Attorney signing this form to complete it accurately in all respects. O R j G i N Bi
Companion Case Information Companion Case Number: 45-12620
This may be a companion case based upon LCrR 57.10 (b)(4)": Judge Assigned: Marianne O. Battani
Yes Lino AusA's Initials: . \P)
4

 

 

Ry

Case Title: USAV. VIOREL PRICOP, MIHAELA PRICOP

County where offense occurred : Oakland County

Check One:  [XlFelony [_IMisdemeanor _ [Petty
Indictment/ Infermation — no prior complaint.
¥_Indictment/ Information --- based upon prior complaint [Case number: 15-mj-30088 ]
Indictment/ Information — based upon LCrR 57.10 (d) {Complete Superseding section below].

Superseding Case Information

Superseding to Case No: Judge:

 

[_]Corrects errors; no additional charges or defendants.
[_]!nvolves, for plea purposes, different charges or adds counts.
[_]Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

—_——

March 30, 2017

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1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases
even though one of them may have already been terminated.

5/16

 
